    Case 2:16-cv-03714-GW-AGR Document 2731 Filed 08/10/23 Page 1 of 1 Page ID
                                   #:194748

                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 16-3714-GW-AGRx                                            Date      August 10, 2023
 Title             The California Institute of Technology v. Broadcom Limited, et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                          Terri A. Hourigan
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                   Rachel L.B. McCracken                                     Mark D. Selwyn
                     James R. Asperger                                       James M. Dowd
                          Ray Zado
 PROCEEDINGS:                   TELEPHONIC CONFERENCE


Court and counsel confer. Potential settlement is reached. For reasons stated on the record, the status
conference is continued to August 24, 2023 at 8:30 a.m. The parties are to file a joint status report by
noon on August 18, 2023.




                                                                                                   :    02
                                                               Initials of Preparer   JG
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 1
